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IN THE CIRCUIT COURT OF THE TWENTIETH JUDICIAL CIRCUIT IN AND FOR

LEE COUNTY, FLORIDA CIVIL DIVISION
NIEVES, ELBA L, | CASE NO.: 19-CA-001771

Plaintiff, JUDGE: FULLER, JOSEPH C., JR.
VS.
WAL-MART STORES INC.,

a foreign profit corporation,

Defendant.

 

PLAINTIFF’S AMENDED COMPLAINT

 

COMES NOW, Plaintiff, ELBA I. NIEVES by and through her undersigned attorney and
hereby sues the Defendant, WAL-MART STORES, INC., for damages and alleges the following:
JURISDICTIONAL STATEMENT

1. This is an action for damages in excess of $15,000.00.

2. All conditions precedent to maintaining this action have occurred, or are in the process of
occurring.

IDENTIFICATION OF THE PARTIES

3. The Plaintiff, ELBA I. NIEVES, is a resident of Fort Myers, Lee County, Florida, is over
the age of eighteen, and is otherwise sui juris.

4. The Defendant, WAL-MART STORES, INC, is a foreign profit corporation authorized to
do, and at all relevant times was doing business in Lee County, Florida, and maintains its
agents, apparent agents, employees, servants, borrowed servants and representatives for

the transaction of its customary business within the State of Florida.

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FACTS COMMON TO ALL COUNTS

5. All pertinent events occurred in the City of Cape Coral, Lee County, Florida.

6. All pertinent events occurred on or about May 7, 2017.

7. On or about May 7, 2017, the Defendant, WAL-MART STORES, INC., owned, operated,
managed and/or maintained or had a duty to own, operate, manage and/or maintain, both
individually and by and/or through its agents, servants and/or employees, a certain premise
located at: 1619 Del Prado Boulevard South, Cape Coral, Lee County, Florida.

8. At the aforesaid time and place, the Plaintiff, ELBA I. NIEVES, was lawfully on said
premises.

9. At the aforesaid time and place, the Defendant, WAL-MART STORES, INC., individually
and/or by and through its agents, servants and/or employees maintained the aforementioned
premises including but, not limited to the food aisle(s), food department(s), entrance(s) and
exist(s) to said premises in such a manner where the areas became and/or caused a slippery
hazard when liquid had accumulated when left unattended. |

10. At the aforesaid time and place, as the Plaintiff, ELBA I. NIEVES, was entering the
premises with a shopping cart near the produce department located at: 1619 Del Prado
Boulevard South, Cape Coral, Lee County, Florida, she was caused to slip and fall on the
floor in the aisle, sustaining severe and permanent injuries.

11. At the aforesaid time and place, the Defendant, WAL-MART STORES, INC., individually
and/or by and through its agents, servant and/or employees, had a duty to maintain the
aforementioned premises, including but, not limited to the food aisle(s), food
department(s), entrance(s) and exist(s), in a reasonably safe condition for persons lawfully

on said premises, to included the Plaintiff herein.

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12. At the aforesaid time and place, the Defendant, WAL-MART STORES, INC., by and
through its agents, servants and/or employees, disregarding their duty, Defendant, WAL-
MART STORES, INC. “actually caused” the Plaintiff, ELBA I. NIEVES to slip and fall
on the floor sustaining severe and permanent injuries.

COUNT I
NEGLIGENCE — WAL-MART STORES, INC,

13, Plaintiff, ELBA I. NIEVES, realleges and incorporates herein by reference, all of the
allegations set forth in paragraphs I through 12 as though fully set forth herein.

14. Plaintiff, ELBA I. NIEVES, is entitled to relief against Defendant, WAL-MART STORES,
INC., based upon the aforementioned facts.

15. Defendant, WAL-MART STORES, INC., had a duty to maintain the floors on the premises
located at: 1619 Del Prado Boulevard South, Cape Coral, Lee County, Florida, in a safe
manner as a reasonable and prudent business owner.

16. At the said time and place, Defendant, WAL-MART STORES, INC., breached its duty of
care to act as a reasonable and prudent business owner when it failed to maintain the floors
in a manner that would leave no uncovered wet spots and warning signs on areas of the
floors that business invitees, or others approaching/walking on the floors located at: 1619
Del Prado Boulevard South, Cape Coral, Lee County, Florida would not see or recognize.

17. Defendant, WAL-MART STORES, INC., negligently maintained the floors, by failing to
place “warning” signs, leaving the floors wet and uncovered, causing Plaintiff, ELBA I.
NIEVES, and anyone else approaching or walking on the wet floors, to abruptly “slip and

fall,” causing severe and permanent injuries to Plaintiff, ELBA I. NIEVES, or others.

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18. At the said time and place, “but for” Defendant, WAL-MART STORES, INC.’S act of
negligently failing to maintain the floors on which Plaintiff, ELBA I. NIEVES, was
walking, Plaintiff, ELBA I. NIEVES, would not have “slipped and fallen” across and/or
on the wet, uncovered and unsigned dangerous floor.

19. Defendant, WAL-MART STORES, INC.’S negligent act and lack of floor maintenance,
“actually caused” Plaintiff, ELBA I. NIEVES’ act of abruptly falling across and/or on the
uncovered and unsigned wet and dangerous floor located at: 1619 Del Prado Boulevard
South, Cape Coral, Lee County, Florida, causing severe injuries to Plaintiff, ELBA I.

NIEVES.

20. Defendant, WAL-MART STORES, INC.’S negligent maintenance of the above-
referenced floors, in Cape Coral, Lee County, Florida, also “proximately caused” Plaintiff,
ELBA I. NIEVES to “slip and fall” across and/or on the uncovered, unsigned and
dangerous floor, in a manner that could have been avoided by reasonable alternative means
of maintenance.

21. As a result, of Defendant, WAL-MART STORES, INC.’S negligence, Plaintiff, ELBA I.
NIEVES, suffered bodily injury and resulting pain and suffering, disability, mental
anguish, loss of capacity, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing care and treatment, loss of earnings, loss of ability to
earn money, and aggravation of a previously existing condition. The losses are either
permanent or continuing, and Plaintiff will suffer the losses in the future. Plaintiffs
injuries are serious, and Plaintiff, ELBA I. NIEVES, suffered bodily injury which
prevented her from working during the period of time she was incapacitated and seeking

medical treatment for her injuries.
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COUNT II
NEGLIGENCE UNDER DOCTRINE OF RESPONDEAT SUPERIOR

22. Plaintiff, ELBA I. NIEVES, realleges and incorporates herein by reference, all of the
allegations set forth in paragraphs 1 through 21 as though fully set forth herein.

23. Plaintiff, ELBA I. NIEVIES’ injuries occurred while grocery shopping on Defendant,
WAL-MART STORES, INC.’s premises and, occurred while Defendant’s maintenance
employee(s) and/or manager(s) were acting as an agent within the scope of their
employment, or performing their duties and responsibilities as an employee(s) of WAL-
MART STORES, INC.’s.

24. Acting as an actual or apparent agent of Defendant, WAL-MART STORES, INC, the
maintenance employee(s) and/or manager(s) were given the responsibility to properly
maintain, clean, remove, and/or place warning signs near the spilled liquid, in order to
protect WAL-MART STORES, INC.’s customers from any and all danger that is open and
obvious while shopping in its stores.

25. Defendant, WAL-MART STORES, INC.’s, maintenance employee(s) and/or manager(s)
failed to maintain and place “warning” signs on the wet, uncovered/unsigned floors,
thereby, the liquid. accumulated, rendering the food aisle(s), food department(s),
entrance(s) and exist(s) to be dangerous, slippery and unsafe for use. As a result of this
dangerous condition, the Plaintiff slipped and fell.

26. The acts described above were committed during normal working hours at the grocery store
operated, owned, and/or controlled by the Defendant, WAL-MART STORES INC.,
located at: 619 Del Prado Boulevard South, Cape Coral, Lee County, Florida, and occurred

during the maintenance employee(s) and/or manager(s) working hours.

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27. Defendant, WAL-MART STORES, INC., has a duty of care to act as a reasonable, prudent
business owner to properly maintain, clean, remove, place warning signs near the spilled
liquid and, to warn Plaintiff, ELBA I. NIEVES, of the dangerous conditions.

28. In cases as this, a maintenance employee, manager, and/or agent’s improper conduct must
be imputed to the master because the employee(s), manager(s) and/or agent are hired to
perform the contract of properly maintaining, cleaning, removing, and/or placing
“warning” signs near the spilled liquid. By failing to maintain and place “warning” signs
on the wet, uncovered/unsigned floors, the maintenance employee(s), manager(s), and/or
agent breached their duty as an agent of Defendant, WAL-MART STORES, INC. As a
result of this dangerous condition, the Plaintiff, ELBA I. NIEVES, slipped and fell.
Therefore, Defendant, WAL-MART STORES, INC., is liable for its maintenance
employee(s), manager(s) and/or agent’s actions and the consequences thereof.

29. As a direct result of the foregoing, Plaintiff, ELBA I. NIEVES has suffered bodily injury
and resulting pain and suffering, disability, mental anguish, loss of capacity, loss of
capacity for the enjoyment of life, expense of hospitalization, medical and nursing care and
treatment, loss of earnings, loss of ability to earn money, and aggravation of a previously
existing condition. The losses are either permanent or continuing, and Plaintiff will suffer
the losses in the future.

COUNT Hi
NEGLIGENT HIRING & RETENTION-WAL-MART STORES, INC.
30. Plaintiff, ELBA I. NIEVES, realleges and incorporates herein by reference, all of the

allegations set forth in paragraphs 1 through 29 as though fully set forth herein.

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31. Upon information and belief, on or about May 7, 2017, Defendant, WAL-MART STORES,
IN C., selected, hired, and retained employees/agents/representatives, to perform work as
commercial cleaning services.

32. Upon information and belief, Defendant, WAL-MART STORES, INC., entrusted its
employees/agents/representatives, with its services, when Defendant, WAL-MART
STORES, INC., knew or should have known of its employees/agents/representatives, lack
of responsibility and follow up in maintaining and placing “warning” signs on the wet
surface floors during its work and the responsibilities of its job.

33, As a direct and proximate result of Defendant, WAL-MART STORES, INC.’S, negligent
hiring and negligent retention of its employees/agents/representatives, Plaintiff, ELBA I.
NIEVES, suffered bodily injuries, resulting in pain and suffering, mental anguish, loss of
capacity, loss of capacity for the enjoyment of life, expense of hospitalization, medical and
nursing care and treatment, loss of earnings, loss of ability to earn money, and aggravation
of a previously existing condition. The losses are either permanent or continuing, and
Plaintiff, ELBA I. NIEVES, will suffer the losses in the future.

COUNT IV
NEGLIGENT SUPERVISION- WAL-MART STORES, INC.

34. Plaintiff, ELBA I. NIEVES, realleges and incorporates herein by reference, all of the
allegations set forth in paragraphs 1 through 33 as though fully set forth herein.

35. When engaging in the negligent conduct alleged herein, Defendant, WAL-MART
STORES, INC., hired employees/agents/representatives, to perform cleaning service work
in a shopping center located at: 1619 Del Prado Boulevard South, Cape Coral, Lee County,

Florida.

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| 36. Defendant, WAL-MART STORES, INC., entrusted its employees/agents/representatives
with its assigned work of its employees/agents/representatives, with full authority and
permission to maintain, repair, alter for safety, and follow up with safety precautions to
prevent hazardous conditions on the floors located on its work premises located at: 1619
Del Prado Boulevard South, Cape Coral, Lee County, Florida.

37. Defendant, WAL-MART STORES, INC., had a duty to maintain the floors on the premises
located at: 1619 Del Prado Boulevard South, Cape Coral, Lee County, Florida, in a safe
manner as a reasonable and prudent business owner.

38. Defendant, WAL-MART STORES, INC., breached its duty to exercise due care, as a
reasonable and prudent employer, by failing to supervise, prohibit, control or regulate its
employees/agents/representative’s negligent conduct and inactions. Defendant, WAL-
MART STORES, INC.’S conduct, constitutes negligent supervision which is actionable
under Florida law.

39. At the aforesaid time and place, the Defendant, WAL-MART STORES, INC., by and
through its agents, servants and/or employees, disregarding their duty, Defendant, WAL-
MART STORES, INC. “actually caused” the Plaintiff, ELBA I. NIEVES to slip and fall
on the floor sustaining severe and permanent injuries.

40, As a direct and proximate result of Defendant, WAL-MART STORES, INC.’S, negligence
in supervision of its employees/agents/representative’s failure to maintain and place
“warning” signs on the uncovered and unsigned floors involved in this accident, Plaintiff,
ELBA I. NIEVES, suffered bodily injuries, resulting in pain and suffering, mental anguish,
loss of capacity, loss of capacity for the enjoyment of life, expense of hospitalization,

medical and nursing care and treatment, loss of earnings, loss of ability to earn money, and

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aggravation of a previously existing condition. The losses are either permanent or
continuing, and Plaintiff, ELBA I. NIEVES, will suffer the losses in the future.
WHEREFORE, the Plaintiff, ELBA I. NIEVES, demands judgment for damages against the
Defendant, WAL-MART STORES, INC., in excess of $15,000.00, exclusive of interest and costs,
court costs, trial by jury of all issues so triable, and any such other relief as this court deems just.
CERTIFICATE OF SERVICE

I HEREBY CERTIFY, that a true and correct copy of the foregoing document was sent
to: WAL-MART STORES, INC., on this acl “day of July 2019.

Respectfully submitted,
VY fo

Live Z —aa
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